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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 2:15-cr-23
v.
                                                     HONORABLE PAUL L. MALONEY
JACLYN PATRICIA SNOUWAERT,

                  Defendant.
_________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States Magistrate

Judge Timothy P. Greeley in this action (ECF No. 44). The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge is approved and adopted as

the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count One of the Indictment.

       3.      The written plea agreement is hereby continued under advisement pending sentencing.


Date: February 9, 2016                                /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
